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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 In re: Seroquel XR (Extended Release      Master Dkt. No. 20-1076-CFC
 Quetiapine Fumarate) Antitrust Litigation

 This Document Relates To:
 All End-Payor Class Actions

    DECLARATION OF BENJAMIN M. GREENBLUM IN SUPPORT OF
   DEFENDANTS’ REPLY BRIEF IN SUPPORT OF THEIR MOTION TO
   EXCLUDE THE MANUFACTURING AND COMMERCIAL LAUNCH
                OPINIONS OF JANET K. DeLEON
                  (DAUBERT MOTION NO. 5)

I, Benjamin M. Greenblum, declare and state as follows:

        1.        I am a partner at the law firm of Williams & Connolly LLP. I represent

AstraZeneca Pharmaceuticals LP and AstraZeneca UK Ltd. in the above-captioned

matter. I am admitted pro hac vice in this Court. I have personal knowledge of the

facts set forth herein, and if called as a witness, could and would testify to them.

        2.        Exhibit 4 is a true and correct copy of excerpts of the transcript of the

March 1, 2024 deposition of Janet K. DeLeon.




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Dated: October 7, 2024              By: /s/ Benjamin M. Greenblum
                                    Benjamin M. Greenblum
                                    WILLIAMS & CONNOLLY LLP
                                    680 Maine Ave. SW
                                    Washington, D.C. 20024
                                    (202) 434-5919
                                    bgreenblum@wc.com




                                    2
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                   EXHIBIT 4
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1                      IN THE UNITES STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE
2
3
        IN RE:      SEROQUEL XR                   )
4       (Extended Release                         ) Master Docket No.
        Quetiapine Fumarate)                      ) 20-1076-CFC
5       Antitrust Litigation                      )
6
7
8                   VIDEOTAPED DEPOSITION OF JANET K. DeLEON,
9           produced, sworn and examined on March 1, 2024,
10          between the hours of 9:00 o'clock in the morning
11          and 5:00 o'clock in the afternoon of that day,
12          taken at the law offices of Sanders Warren &
13          Russell, LLP, 11225 College Boulevard, Suite
14          450, Overland Park, Kansas, before Stacy L.
15          Decker, a Certified Court Reporter (MO),
16          Certified Shorthand Reporter (KS) in a certain
17          cause now pending before the United States
18          District Court for the District of Delaware, IN
19          RE: Seroquel XR (Extended Release Quetiapine
20          Fumarate) Antitrust Litigation; taken on behalf
21          of the Defendants.
22
23
24                         GOLKOW LITIGATION SERVICES
                        877.370.3377 ph | 917.591.5672 fax
25                                  Deps@golkow.com

                                  Golkow Technologies,
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1           applications as ANDAs today?
2                        A.   Yes, that would be fine.
3                        Q.   Ms. DeLeon, you are not, however,
4           an expert in the physical properties of
5           hydroxypropyl methyl cellulose, correct?
6                        A.   I am not, no.
7                        Q.   You are also not an expert in the
8           physical properties of methyl cellulose,
9           correct?
10                       A.   Correct.
11                       Q.   You are not an expert in the
12          gelation properties of hydrogenated vegetable
13          oil, correct?
14                       A.   I am not, no.
15                       Q.   And you are not an expert in
16          selecting which excipients to include in a
17          pharmaceutical formulation, correct?
18                       A.   Correct.       That's not part of my
19          assignment today.
20                       Q.   That's what I figured and I just
21          want to make sure I understand the full scope of
22          your assignment.
23                            You're also not an expert in the
24          design of pharmaceutical formulations, correct?
25                       A.   I have developed many formulations

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1           and gained approval for those products over the
2           years, but my true expertise is in regulatory.
3                        Q.   Ms. DeLeon, you are not an expert
4           in the design of the milling process that
5           creates the particles of an active
6           pharmaceutical ingredient, correct?
7                        A.   No, I'm not an expert in that.
8                        Q.   And you are not an expert in
9           troubleshooting the curing processes for an
10          extended release tablet, correct?
11                       A.   Correct.
12                       Q.   So you are not an expert in the
13          manufacture of the pharmaceutical formulation as
14          opposed to the regulatory approval of the
15          pharmaceutical formulation, correct?
16                       A.   I would not say that I'm an expert
17          in that.     However, I've sat on many
18          cross-functional teams for over 36 years, and so
19          I'm very familiar with it.           Of course, I'm not a
20          pharmacist and never went through the formal
21          training that pharmacists do in order to become
22          a formulator.
23                       Q.   Ms. DeLeon, you are not an expert
24          in providing comprehensive oversight for a
25          multiple line pharmaceutical manufacturing

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1           facility, correct?
2                        A.   I have never been the management
3           of one of those facilities, no.               But, again,
4           I've worked on many cross-functional teams that
5           employ exactly that.        So I'm very familiar with
6           it.
7                        Q.   Ms. DeLeon, are you an expert in
8           the negotiation of raw materials supply
9           contracts?
10                       A.   I'm not a purchaser is what we
11          call it.     The purchasing department does that.
12          But, again, I'm very familiar with the process.
13          I've been on multiple cross-functional teams
14          that employ that.       I myself have -- when I was
15          at Cypress Pharmaceutical, I participated in
16          purchasing those excipients and raw materials in
17          general as well as the components that go into
18          drug products.      So I'm very familiar with it,
19          but it's -- that -- that is mainly my expertise.
20                       Q.   It was not your day job; it was
21          something your colleagues did that you heard
22          about; is that fair?
23                       A.   Exactly, yes.            I would participate
24          on a team and we would discuss it regularly.
25                       (Exhibit 360 was marked.)

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1                        Q.   (By Mr. Fletcher)           I'm now marking
2           as Exhibit 360 a document.           Ms. DeLeon, what is
3           Exhibit 360?
4                        A.   It's my resume.
5                        Q.   Do you recognize it?
6                        A.   I do.
7                        Q.   Are there any changes to this
8           resume since it was submitted as an exhibit to
9           your opening expert report?
10                       A.   No.     No changes, no.
11                       Q.   On the first page of the resume,
12          you refer to your role as the chief executive
13          officer of Jandel Pharmaceuticals.              Do you see
14          that?
15                       A.   I do.
16                       Q.   Has Jandel Pharmaceuticals ever
17          marketed a product?
18                       A.   It has not.
19                       Q.   Has Jandel Pharmaceuticals ever
20          sought regulatory approval for a product?
21                       A.   No, it has not.           Jandel is a
22          start-up company that we have looked into
23          several different products to acquire or to
24          develop and haven't quite gotten to the point
25          where we've actually gotten a product on hand,

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1           so it still remains a start-up company.
2                        Q.   A start-up where you are looking
3           to in-license a drug to develop; is that
4           correct?
5                        A.   Possibly.       Currently we're looking
6           at ACell therapy, that is with a university, and
7           we're -- we've got terms in place, but we're
8           looking for investors.
9                        Q.   Is the name Jandel Pharmaceuticals
10          just a truncation of Janet DeLeon?
11                       A.   It is, yes.
12                       Q.   How many employees does Jandel
13          Pharmaceuticals have?
14                       A.   Two at this point.
15                       Q.   And who are the employees?
16                       A.   Myself and Rob Lewis.
17                       Q.   And what is Rob Lewis' role?
18                       A.   He is the co-founder.           He is an
19          expert at developing products and companies.                 He
20          is very familiar with the financial end of the
21          business.     He was my boss when I was at Cypress
22          Pharmaceutical.      So we've worked together many
23          years.     Seven years at Cypress, as well as the
24          past ten years he and I have both run our
25          consulting companies and have interacted on

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1           multiple products.        We're very familiar with
2           each other.
3                        Q.   Did Jandel Pharmaceuticals have
4           any revenue in 2023?
5                        A.   It did not, no.
6                        Q.   Has Jandel Pharmaceuticals ever
7           had any revenue?
8                        A.   No.     We're actually at a negative
9           right now.
10                       Q.   Staying on the first page of your
11          resume, Exhibit 360, in the bullets under the
12          highlights you indicate that you have been
13          responsible for approval of 12 NDAs and ANDAs in
14          six and a half years.        Do you see that?
15                       A.   I do.
16                       Q.   How many of those 12 were ANDAs to
17          the best of your memory?
18                       A.   I believe it was nine of them.
19                       Q.   And so three were NDAs to the best
20          of your memory?
21                       A.   Yes.
22                       Q.   The distinction between an NDA and
23          an ANDA is an NDA is a new drug application,
24          whereas, the ANDA is the abbreviated new drug
25          application, correct?

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1                        Q.   In your answer there you're
2           referring to the active pharmaceutical
3           ingredient; is that correct?
4                        A.   It is, yes, otherwise called API
5           or drug substance.
6                        Q.   Hetero did not make the actual
7           tablets; it provided the API to Accord for
8           Accord to make into tablets; is that fair?
9                        A.   That is fair, yes.
10                       Q.   So when you say Hetero could have
11          supplied the XR product, too, you mean Hetero
12          could have provided the quetiapine fumarate for
13          the XR product?
14                       A.   Yes.    Thank you for that
15          correction, yes.
16                       Q.   You also -- have you analyzed the
17          Accord manufacturing process for the extended
18          release tablets?
19                       A.   Not in particular, no.           But I am
20          familiar with other XR products.
21                       Q.   From your prior work experience?
22                       A.   Exactly, yes.
23                       Q.   Have you studied the manufacturing
24          process for any XR product specific to this
25          case?

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1                        A.   Not the specific procedure, no.
2           No.
3                        Q.   You mentioned that both the IR and
4           XR tablets are extremely similar.            Did I get
5           that correct?
6                        A.   I did, uh-huh.
7                        Q.   They both use the exact same
8           active pharmaceutical ingredient; is that right?
9                        A.   That's right.
10                       Q.   And in the case of Accord, the
11          active pharmaceutical ingredient for both the
12          Seroquel IR tablets and Seroquel XR tablets even
13          came from the same supplier; is that correct?
14                       A.   That's correct as I understand it,
15          yes.
16                       (Exhibit 361 was marked.)
17                       Q.   (By Mr. Fletcher)        Ms. DeLeon,
18          I'll hand you what I've marked as Exhibit 361.
19                       A.   Okay.
20                       Q.   Ms. DeLeon, what is Exhibit 361?
21                       A.   It's a list of documents that I
22          relied on for my report.
23                       Q.   And that is, in fact, the title of
24          the document is "List of Documents Relied Upon";
25          is that right?

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1                        Q.   But you were not asked to,
2           correct?
3                        A.   Correct.
4                        Q.   Ms. DeLeon, how did you go about
5           preparing your report, Exhibit 359?
6                        MS. HASS:    Objection.          Ms. DeLeon, I
7           just want to caution you to not reveal any
8           attorney communications that you didn't rely on
9           like your assignment and anything about the
10          drafting process, which is privileged and
11          confidential.
12                       THE DEPONENT:       Okay.
13                       A.   So I was provided an assignment,
14          which I stated earlier was the impediments to
15          regulatory approval or impediments to launching
16          the XR generic product for Accord.               And so I
17          requested documents that would support or negate
18          that.   Either way, I analyzed anything that was
19          available and put together this report based on
20          the findings that I saw in the documentation.
21                       Q.   (By Mr. Fletcher)            Ms. DeLeon, do
22          you have an estimate for how many hours you
23          spent preparing this report?
24                       A.   I do not, no.            I'm sorry.
25                       Q.   Did you review the report for

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1           accuracy before you signed it?
2                        A.     Of course.
3                        Q.     Did you proofread the report?
4                        A.     I definitely did, which I'm glad
5           you brought that up.          I did find one error that
6           I'd like to bring up.
7                        Q.     Sure.
8                        A.     It's actually on Paragraph 39.
9                        Q.     Okay.
10                       A.     I apologize that I didn't bring
11          this up earlier.
12                       Q.     What would you like to correct in
13          Paragraph 39?
14                       A.     Let me make sure that it is 39 to
15          begin with.       It would be on the third line.               And
16          it says, "indicating that an ANDA holder does
17          seek approval of its generic product."                  And it
18          should be "does not."          Okay.        I missed the word
19          "not" in that.       Sorry.
20                       Q.     That's okay.        I think we
21          understood what you were trying to say.                  But
22          I've made the note for myself, Paragraph 39,
23          third line, ANDA holder does not seek approval.
24                       A.     For Paragraph 3, yes.
25                       Q.     Okay.     And you noticed this as

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1           part of your preparation for today's deposition?
2                        A.      I did, yes.
3                        Q.      So you've reviewed this report for
4           accuracy when you signed it and again as part of
5           your preparation for this deposition, correct?
6                        A.      Correct, yes.
7                        Q.      At least twice then?
8                        A.      At least, yes.
9                        Q.      Or were there more than two
10          reviews for accuracy?
11                       A.      Yes.   Yes.
12                       Q.      Can you describe your process for
13          making sure that the report accurately reflects
14          your views, like how many times?
15                       A.      How many times I reviewed again
16          or --
17                       Q.      Or how did you make sure that it
18          reflected your views accurately?
19                       A.      Well, I would -- I read through
20          the report.        I checked all of the references in
21          there.     I also relied on my historical knowledge
22          over 36 years, experiences that I've had in the
23          industry, working for small, medium, and large
24          companies.        I put my wealth of experience into
25          it.     But I also looked at the documentation that

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1           was provided.      I also looked at some other
2           documents that were not referenced in the report
3           just to make sure I didn't miss something.
4                        Q.    Like the guidance, is that what
5           you're referring to?
6                        A.    Which guidance?
7                        Q.    Sorry.     When you say you looked at
8           other documents not referenced in the report,
9           are you referring to those FDA guidance, ICH
10          concepts that are just --
11                       A.    Yes, exactly.
12                       Q.    Anything else?
13                       A.    No.     It would be those, those
14          guidances.
15                       Q.    So when you cited a document or a
16          reference, you checked to make sure it said what
17          you were characterizing it as in your report; is
18          that fair?
19                       A.    Yes, I did.
20                       Q.    So I'd like to go back to the very
21          first page of the report to just understand
22          something.
23                       A.    Okay.
24                       Q.    Very second -- second paragraph,
25          heading two.      Ms. DeLeon, what does heading two

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1           refer to?
2                        A.   It says jurisdiction and venue.
3                        Q.   What is jurisdiction?
4                        A.   The parameters which I am working
5           within.
6                        Q.   Okay.     And what is venue?
7                        A.   Again, I believe it's a legal
8           term, but it's -- it's the part that I'm working
9           within.
10                       Q.   So what follows in paragraphs 2
11          through 17 is your professional background,
12          right?
13                       A.   Yes, it is.        Uh-huh.
14                       Q.   And you described your
15          professional background as your jurisdiction and
16          venue; is that right?
17                       A.   That's what it is, yes.
18                       Q.   That's not a typo, right?
19                       MS. HASS:    Objection, asked and
20          answered.
21                       A.   Yeah, it -- this is -- this is
22          what I've written.
23                       Q.   (By Mr. Fletcher)           Okay.    Just we
24          were correcting typos before.              We corrected
25          Paragraph 39.     We don't need to correct heading

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1           two, though, correct?
2                         A.   I don't believe so.         I'm not a
3           lawyer.      Legal terms sometimes are misused by
4           me, I'll admit, but I believe that these are
5           correct.
6                         Q.   So only one typo and it's in
7           Paragraph 39?
8                         A.   Yes.
9                         Q.   Okay.     Paragraph 62, if you could
10          please go to that paragraph again.
11                        A.   62?
12                        Q.   Yes.     Paragraph 62, you refer to
13          NDA number 022047.         Do you see that?
14                        A.   I do.
15                        Q.   And what was NDA 022047?
16                        A.   It was the branded version from
17          AstraZeneca for the Seroquel XR.
18                        Q.   And pursuant to NDA number 022047,
19          FDA gave approval to AstraZeneca to sell the 50,
20          150, 200, 300, and 400 milligram strengths,
21          correct?
22                        A.   Correct.
23                        Q.   And in Paragraph 63 you describe
24          Accord's ANDA, correct?
25                        A.   Yes, I do.

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1                        Q.   How is a capsule different from a
2           tablet?
3                        MS. HASS:    Objection.       Outside the
4           scope of her report.
5                        A.   It's not something I was asked to
6           opine on.
7                        Q.   (By Mr. Fletcher)         In your
8           experience is a capsule different from a tablet?
9                        MS. HASS:    Same objection.
10                       A.   So I wasn't asked to opine on
11          that.
12                       Q.   (By Mr. Fletcher)         Okay.     The flow
13          chart reflects that capsules go through an
14          encapsulation process, correct?
15                       A.   Yes.
16                       Q.




19                       MS. HASS:    Same objection.        Outside
20          the scope of her report.
21                       A.   I wasn't asked to opine on that.
22                       Q.   (By Mr. Fletcher)         Okay.     You
23          analyzed this document as part of your report,
24          correct?
25                       A.   This document, yes, in general.

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1                        Q.   As part of your understanding
2           about impediments to launch, correct?
3                        A.   Yes.
4                        Q.   The third column such as it is on
5           slide 63481 refers to pellets, correct?
6                        A.   Yes.
7                        Q.   What is a pellet?
8                        A.   A pellet is typically something
9           that goes into a capsule.
10                       Q.   The fourth column refers to
11          effervescent tablets.        Do you see that?
12                       A.   I do.
13                       Q.   What is an effervescent tablet?
14                       MS. HASS:     Objection.      Outside the
15          scope of her report.
16                       A.   I wasn't asked to opine on that.
17                       Q.   (By Mr. Fletcher)         Have you ever
18          worked on an effervescent tablet before?
19                       A.   I have not, no.
20                       Q.   Do you think Alka-Seltzer is an
21          effervescent tablet?
22                       A.   It is.
23                       MS. HASS:     Objection.
24                       Q.   (By Mr. Fletcher)         So you have
25          some familiarity with effervescent tablets?

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1                        A.   Some, yes.
2                        Q.   Column five, what is a narrow
3           therapeutic tab?
4                        MS. HASS:     Same objection.       Outside
5           the scope of her report.
6                        A.   I wasn't asked to opine on that.
7                        Q.   (By Mr. Fletcher)        Do you know
8           what that is?
9                        A.   In general.
10                       Q.   What -- in general what does it
11          mean?
12                       MS. HASS:     Same objection.
13                       A.   It's a product that has a vast
14          difference in biologic profile.
15                       Q.   (By Mr. Fletcher)        If we turn to
16          the next slide, we have -- the slide is entitled
17          "Oral Solids Capacities," correct?
18                       A.   Yes.
19                       Q.   And the first column is dosage
20          form; is that right?
21                       A.   It is.
22                       Q.   And the second column is annual
23          capacity, correct?
24                       A.   Yes.
25                       Q.   And as you understand this table,

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1           the annual capacity column refers back to the
2           corresponding dosage form in the column on the
3           left, correct?
4                        A.   I would assume so since it's all
5           within the same section of the slide deck.
6                        Q.




21                       MS. HASS:    Objection to form.
22                       A.   So that's what is here on the
23          document.     I'm not exactly sure if this is
24          accurate or not, as with the other ones.               All I
25          can do is read what's here on the page.

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1                        Q.   (By Mr. Fletcher)            Okay.    What
2           would you need to know to confirm whether this
3           is an accurate annual capacity?               How would you
4           do that?
5                        A.   Typically I would ask the people
6           who run the manufacturing facility what their
7           capacity is as of today.          This document -- I
8           don't know the date on it.           It could have been
9           five years old at the time.
10                       Q.   Okay.     As you understand this
11          document, which was the second document listed
12          in your materials relied upon,


                                             , correct?
15                       A.   I see that.
16                       Q.   And that's the correct way to read
17          this document?
18                       A.   I believe so.            I -- I've never
19          worked with INTAS, so I don't know their exact
20          meaning.     But from an outsider perspective, I
21          think that would be something that could be
22          concluded.
23                       Q.   So now if we can keep that open,
24          but if we can turn back to your report,
25          paragraph 156.     This is a document that you

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1           cited in your analysis in paragraph 156,
2           correct?
3                        A.   Yes.
4                        Q.   And specifically this slide that
5           we were just looking at is what you cited in
6           support of your footnote 176, correct?
7                        A.   Yes.
8                        Q.   And in your analysis you concluded
9           that
                                                 .       Do you see that?
11                       A.   I do see that.
12                       Q.   Would it be more fair to say that
13
                                                     ?
15                       A.   So according to this document
16          here, that's what it says, yes.
17                       Q.   Okay.     This document that you've
18          cited does not separately identify the annual
19          capacity at              for making tablets, correct?
20                       A.   Correct.
21                       Q.   And do you know what
22          annual capacity was for making tablets?
23                       A.   Off the top of my head, no.                 I had
24          to rely on this document.
25                       Q.   Okay.     And you're not aware of any

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1           document other than this slide 482 that informs
2           the annual capacity for tablets at                   ,
3           correct?
4                        A.   This is the document that I
5           referenced.
6                        Q.   So sitting here today -- well, I
7           think we can move on.
8                             In paragraph 155, you describe
9           Accord as one of the fastest growing U.S.
10          generic companies; is that correct?
11                       A.   So here it says, "In early 2015
12          INTAS, Accord's Indian parent company, described
13          itself," excuse me, "as one of the fastest
14          growing Indian pharmaceutical companies."
15                       Q.   And, sorry, I was on the prior
16          sentence.
17                       A.   Yes.    Okay.      It does say Accord
18          was one of the fastest growing U.S. generic
19          companies.
20                       Q.   How does that statement factor
21          into your analysis?
22                       A.   It factors into my analysis
23          because I have worked with similar companies
24          that were trying very hard to grow fast.                 I've
25          worked with small, medium, and large companies

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                          CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that true and correct copies of the

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